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                               UNITED STATES DISTRICT COURT
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                                   EASTERN DISTRICT OF CALIFORNIA
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11    ADOLFO MARTINEZ JIMENEZ,                           Case No. 1:18-cv-00210-EPG

12                    Plaintiff,
                                                         ORDER RE: STIPULATED REQUEST FOR
13            v.                                         DISMISSAL OF ENTIRE ACTION WITH
                                                         PREJUDICE
14    CITY OF PARLIER,

15                    Defendant.                         (ECF No. 22)

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17         Plaintiff, Adolfo Martinez Jimenez, and Defendant, City of Parlier, have filed a

18    stipulation to dismiss the entire action with prejudice (ECF No. 22). In light of the stipulation,

19    the case has ended and is dismissed with prejudice. See Fed. R. Civ. P. 41(a)(1)(A); Wilson v.

20    City of San Jose, 111 F.3d 688, 692 (9th Cir. 1997). Accordingly, the Clerk of the Court is

21    respectfully directed to close this case.

22
     IT IS SO ORDERED.
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24     Dated:      January 7, 2019                             /s/
                                                       UNITED STATES MAGISTRATE JUDGE
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